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                         IN THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH


         UNITED STATES OF AMERICA,

                       Plaintiff,                              ORDER OF FORFEITURE
                          v.                                         Case No. 1:23-cr-6
            TADASHI KURA KOJIMA,                                Judge Howard C. Nielson, Jr.
                                                                 United States District Judge
                      Defendant.



       The defendant has pleaded guilty to Count 2 of the Indictment. Having examined the

information provided in the Government’s motion, the Indictment, the guilty plea of the defendant,

the defendant’s statement in advance of plea that included his agreement regarding the forfeiture,

and good cause appearing, the court makes the following findings:

       1.        As a result of a guilty plea to transportation with intent to engage in criminal sexual

activity in violation of 18 U.S.C. § 2423(a), the Government seeks forfeiture pursuant to 18 U.S.C.

§ 2428, which requires the defendant to forfeit to the United States any property used or intended to

be used to commit or facilitate the commission of the offense, and any property constituting or

derived from any proceeds obtained, directly or indirectly, as a result of the offense.

       2.        Based on the information provided in the government’s motion, the Indictment, the

guilty plea of the defendant, and the statement in advance of plea that includes his agreement

regarding the forfeiture, the court finds that the following property is subject to forfeiture and that

the government has established the requisite nexus between the subject property and the offense:

                 •       Republic of Gamers laptop, model RYZEN 4000, series AX200NGW,
                         SN: L8NRKD003182337;

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                  •         ASUS    TUF   Gaming             Fl7    laptop,    model      TUF706HM,
                            SN: M7NRCX06Ell730G;

                  •         Motorola CE Cell phone, type MC36F;

                  •         Garmin Approach S20, SN4D02l7330; and

                  •         White 1998 Toyota Avalon, VIN: 4T1BF18BlWU284416.

        3.        The court also finds that the Government has made a prima facie showing

sufficient, if no third party files any claim to the property, to establish that the defendant has an

interest in the property.

        4.       Pursuant to 18 U.S.C. § 2428 and Fed. R. Crim. P. 32.2(b)(1)(A), the property

identified above is hereby forfeited to the United States.

        5.       Upon the entry of this Order, in accordance Federal Rule of Criminal Procedure

32.2(b)(3), the Attorney General (or a designee) is authorized to seize the property and conduct any

discovery proper to identify, locate, or dispose of the property subject to forfeiture.

        6.       Upon entry of this Order the Attorney General (or a designee) shall commence any

applicable proceeding to comply with statutes governing third party interests, including giving

notice of this Order.

        7.       The United States shall publish notice of this Order on the Government’s internet

website, www.forfeiture.gov. The United States may also, to the extent practicable, provide written

notice to any person known to have an alleged interest in the subject property.

        8.       Any person, other than the defendant, asserting a legal interest in the subject

property may, within thirty days of the final publication of notice or receipt of notice, whichever is

earlier, petition the court for a hearing without a jury to adjudicate the validity of his alleged

interest in the subject property, and amendment of the order of forfeiture pursuant to 21 U.S.C.

§ 853(n).
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        9.       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Order of Forfeiture

shall become final as to the defendant at the time of sentencing and shall be made part of the

sentence and included in the judgment. If no third party files a timely claim, this Order shall

become the Final Order of Forfeiture, as provided by Federal Rule of Criminal Procedure

32.2(c)(2).

        10.      Any petition filed by a third party asserting an interest in the subject property shall

be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the subject property; the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the property; any additional facts supporting

the petitioner’s claims; and the relief sought.

        11.      After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(1)(A), and before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon a showing that such discovery is necessary or desirable

to resolve factual issues.

        12.      The United States shall have clear title to the subject property following the court’s

disposition of all third-party interests or, if no petitions are filed, following the expiration of the

period provided in 21 U.S.C. § 853, which is incorporated by 28 U.S.C. § 2461, for the filing of

third-party petitions.

        13.      The court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).


         IT IS SO ORDERED.

                                                         Dated this 21st Day of January, 2025
                                                         BY THE COURT:

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                                           Howard C. Nielson, Jr.
                                           United States District Judge




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